                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                   WESTERN DIVISION
                                     No. 5:05-CR-55-BR

UNITED STATES OF AMERICA,                                   )
                                                            )
                 v.                                         )        ORDER
                                                            )
PATRICK O’NEIL GILL                                         )

        This matter is before the court on defendant’s emergency motion for compassionate

release. (DE # 72.) The government filed a response in opposition, (DE # 76), to which

defendant filed a reply, (DE # 78).

        In 2005, defendant pled guilty to interference with commerce by robbery and using a

firearm during and in relation to a crime of violence. The court sentenced him to a total term of

imprisonment of 271 months (representing an upward departure from the applicable guideline

range to the top of the revised guideline range) and five years supervised release. The Fourth

Circuit Court of Appeals affirmed. United States v. Gill, 228 F. App’x 282 (4th Cir.) (per

curiam), cert. denied, 552 U.S. 938 (2007).

        Defendant requests a reduction in his sentence of imprisonment to time served or,

alternatively, to convert a portion of his remaining custodial sentence to home confinement

pursuant to 18 U.S.C. § 3582(c)(1)(A)(i), as amended by the First Step Act of 2018 (“First Step

Act”).1 That statute provides in relevant part:

        The court may not modify a term of imprisonment once it has been imposed except
        that—
            (1) in any case—
                    (A) the court, upon motion of the Director of the Bureau of
                Prisons, or upon motion of the defendant after the defendant has

1
 The First Step Act amended § 3582(c)(1)(A) to permit a defendant to bring such a motion. See Pub. L. No. 115-
391, § 603(b), 132 Stat. 5194, 5239 (2018).



            Case 5:05-cr-00055-BR Document 80 Filed 10/20/20 Page 1 of 6
                 fully exhausted all administrative rights to appeal a failure of the
                 Bureau of Prisons to bring a motion on the defendant’s behalf or the
                 lapse of 30 days from the receipt of such a request by the warden of
                 the defendant’s facility, whichever is earlier, may reduce the term of
                 imprisonment . . . , after considering the factors set forth in
                 section 3553(a) to the extent that they are applicable, if it finds
                 that—
                         (i) extraordinary and compelling reasons warrant
                         such a reduction . . .
                 and that such a reduction is consistent with applicable
                 policy statements issued by the Sentencing Commission[.]

18 U.S.C. § 3582(c).

        The relevant policy statement is set forth in United States Sentencing Guideline §

1B1.13, “Reduction in Term of Imprisonment Under 18 U.S.C. § 3582(c)(1)(A).” 2 “Th[at]

policy statement . . . requires: (1) extraordinary or compelling reasons to warrant a reduction in a

defendant’s sentence, (2) that the defendant is not a danger to the safety of others or the

community, and (3) that release from custody complies with § 3553(a) factors.” United States v.

Lake, No. CR 5:16-076-DCR, 2019 WL 4143293, at *2 (E.D. Ky. Aug. 30, 2019) (citing

U.S.S.G. § 1B1.13 (2018)); see also United States v. Kibble, Criminal No. 2:19-00077, 2020 WL

3470508, at *2 (S.D.W. Va. June 25, 2020).

        Under the policy statement, extraordinary and compelling reasons justifying a sentence

reduction exist based on any of following circumstances:

        (A)      Medical Condition of the Defendant.—
                 (i)    The defendant is suffering from a terminal illness (i.e., a serious and
                 advanced illness with an end of life trajectory). A specific prognosis of life
                 expectancy (i.e., a probability of death within a specific time period) is not

2
  Technically, the policy statement, which was adopted prior to the First Step Act, applies only to motions filed by
the Bureau of Prisons. See United States v. Beck, No. 1:13-CR-186-6, 2019 WL 2716505, at *5 (M.D.N.C. June 28,
2019). “The Sentencing Commission has not amended or updated the old policy statement since the First Step Act
was enacted, nor has it adopted a new policy statement applicable to motions filed by defendants. While the old
policy statement provides helpful guidance, it does not constrain the Court’s independent assessment of whether
‘extraordinary and compelling reasons’ warrant a sentence reduction under § 3582(c)(1)(A)(i).” Id. at *6-7 (citation
and footnote omitted).

                                                         2

            Case 5:05-cr-00055-BR Document 80 Filed 10/20/20 Page 2 of 6
                required. Examples include metastatic solid-tumor cancer, amyotrophic
                lateral sclerosis (ALS), end-stage organ disease, and advanced dementia.
                (ii)     The defendant is—
                         (I)     suffering from a serious physical or medical condition,
                         (II)    suffering from a serious functional or cognitive impairment,
                         or
                         (III) experiencing deteriorating physical or mental health
                                 because of the aging process,
                         that substantially diminishes the ability of the defendant to
                         provide self-care within the environment of a correctional facility
                         and from which he or she is not expected to recover.
        (B)       Age of the Defendant.—The defendant (i) is at least 65 years old; (ii) is
        experiencing a serious deterioration in physical or mental health because of the
        aging process; and (iii) has served at least 10 years or 75 percent of his or her term
        of imprisonment, whichever is less.
        (C)     Family Circumstances.
                (i)     The death or incapacitation of the caregiver of the defendant’s minor
                child or minor children.
                (ii)      The incapacitation of the defendant’s spouse or registered partner
                when the defendant would be the only available caregiver for the spouse or
                registered partner.
        (D)      Other Reasons.—As determined by the Director of the Bureau of Prisons,
        there exists in the defendant’s case an extraordinary and compelling reason other
        than, or in combination with, the reasons described in subdivisions (A) through (C).

U.S.S.G. § 1B.13, cmt. n.1.

        Even if a defendant establishes extraordinary and compelling reasons to support a

sentence reduction, the court must still consider the applicable § 3553(a) factors. See 18 U.S.C.

§ 3582(c)(1)(A); United States v. Chambliss, 948 F.3d 691, 693 (5th Cir. 2020).

        These factors include: “(1) [Defendant’s] personal history and characteristics; (2)
        his sentence relative to the nature and seriousness of his offense; (3) the need for a
        sentence to provide just punishment, promote respect for the law, reflect the
        seriousness of the offense, deter crime, and protect the public; (4) the need for
        rehabilitative services; (5) the applicable guideline sentence; and (6) the need to
        avoid unwarranted sentencing disparities among similarly-situated defendants.”

United States v. Adona, No. CR PX-17-345, 2020 WL 4338889, at *2 (D. Md. July 28, 2020)

(citation omitted) (alteration in original).




                                                  3

           Case 5:05-cr-00055-BR Document 80 Filed 10/20/20 Page 3 of 6
       Before considering the merits of the motion, it appears defendant exhausted his

administrative rights in the Bureau of Prisons (“BOP”) prior to filing the motion. In May 2020,

defendant submitted a request for compassionate release to the Warden, which the Warden

denied a month later. (Mot., Ex. A, DE # 72-1.) The government acknowledges defendant has

satisfied § 3582(c)(1)(A)’s exhaustion requirement. (Resp., DE # 76, at 4-5.)

       Turning to the merits, defendant contends his age combined with numerous medical

conditions increase his risk of severe illness from COVID-19, and therefore, he presents

extraordinary and compelling reasons for a modification of his sentence. (Mot., DE # 72, at 1-2,

6-9.) The government argues defendant’s sentence should not be reduced considering the

relevant § 3553(a) factors and the danger defendant would pose to the community. (See Resp.,

DE # 76, at 1.)

       “[I]n considering whether extraordinary and compelling reasons for a sentence reduction

exist in light of COVID-19, [district courts] have considered the age of the prisoner, the severity

and documented history of the defendant’s health conditions, and the proliferation and status of

infections in the prison facility.” Kibble, 2020 WL 3470508, at *2 (citing United States v.

Brady, No. S2 18 Cr. 316 (PAC), 2020 WL 2512100, at *3 (S.D.N.Y. May 15, 2020) (collecting

cases)). The Centers for Disease Control and Prevention’s list of risk factors for COVID-19

complications also informs the court’s evaluation. Everett v. United States, No. 4:16cr35, 2020

WL 5793428, at *3 (E.D. Va. Sept. 25, 2020).

       Defendant is 65 years old. He is obese and prediabetic and has been diagnosed with end

stage renal disease, hypertension, and peripheral vascular disease, among other things. (Mot.,

Ex. D, DE # 73, at 10-12). Given his age and multiple underlying medical conditions, defendant

has an increased risk of severe illness from the virus that causes COVID-19. See Centers for



                                                 4

           Case 5:05-cr-00055-BR Document 80 Filed 10/20/20 Page 4 of 6
Disease Control and Prevention, https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

precautions/people-with-medical-conditions.html (last visited Oct. 19, 2020). Additionally, the

BOP classifies defendant’s medical care as level 4, (Mot., Ex. B., DE # 72-2, at 1), which is the

highest level and encompasses inmates who “require services available only at a BOP Medical

Referral Center [], which provides significantly enhanced medical services and limited inpatient

care,” Federal Bureau of Prisons, Care Level Classification for Medical and Mental Health

Conditions or Disabilities, at 3 (May 2019), available at

https://www.bop.gov/resources/pdfs/care_level_classification_guide.pdf. In fact, defendant is

incarcerated in a Federal Medical Center in Massachusetts (“FMC Devens”). There, the current

infection rate appears to be low, with no reported inmate positive cases and only two staff

positive cases, Federal Bureau of Prisons, COVID-19 Cases, https://www.bop.gov/coronavirus/

(last visited Oct. 19, 2020), and all 787 inmates have been tested, Federal Bureau of Prisons,

COVID-19 Inmate Test Information, https://www.bop.gov/coronavirus/ (last visited Oct. 19,

2020). Although the spread of COVID-19 at FMC Devens appears controlled, the court agrees

with defendant that he has shown extraordinary and compelling reasons supporting a sentence

reduction.

       The court now considers information bearing on the relevant § 3553(a) factors.

Defendant has been incarcerated for more than 16 years. With good time credit, he has served

approximately 84% of his sentence of imprisonment. (See Mot., Ex. C, DE # 72-3.) During that

time, he has taken educational courses, maintained employment, satisfied his financial

obligation, and obtained his GED. (Mot., Ex. B, DE # 72-2.) He has not had any disciplinary

infractions in at least six months. (Id.)




                                                5

             Case 5:05-cr-00055-BR Document 80 Filed 10/20/20 Page 5 of 6
       Prior to his incarceration for the instant offenses, defendant had been convicted of three

felonies, including second degree murder. (PSR, DE # 45, at 6-7.) Defendant’s conduct

underlying the instant offenses was particularly egregious. Defendant walked into a convenience

store and, without saying a word, shot the cashier/store’s owner in the head at point-blank range.

(Id. ¶ 7.) Defendant then stole cash from the register. (Id.) Fortunately, the victim survived;

however, after being hospitalized for one month and due to his permanent injuries, he sold the

store and returned to Jordan where his family cares for him. (Id. ¶ 12.)

       Considering all the circumstances, reducing defendant’s sentence of imprisonment would

not provide just punishment or reflect the seriousness of the offenses committed. Therefore,

defendant’s emergency motion for compassionate release is DENIED.

       This 20 October 2020.




                                      __________________________________
                                                     W. Earl Britt
                                                     Senior U.S. District Judge




                                                6

          Case 5:05-cr-00055-BR Document 80 Filed 10/20/20 Page 6 of 6
